Case 2:25-cv-00244-LK   Document 245-4   Filed 03/06/25   Page 1 of 5




                Exhibit 4
        Case 2:25-cv-00244-LK             Document 245-4                Filed 03/06/25             Page 2 of 5


From:           Andrapalliyal, Vinita B. (CIV)
To:             Melody, Colleen M (ATG); Daniel, Christian S. (CIV)
Cc:             McGinty, William (ATG); Heintz, Tera M. (ATG); Fraas, Lauryn (ATG); Sepe, Cristina (ATG); Hughes, Andrew
                (ATG); Luna, Neal (ATG); Wolf, Lucy (ATG); Allie.M.Boyd@doj.oregon.gov; James.Canaday@ag.state.mn.us;
                shannon.stevenson@coag.gov
Subject:        RE: Violation of Court Orders re: Gender-Affirming Care Research
Date:           Thursday, March 6, 2025 8:42:55 AM




[EXTERNAL]



Colleen,

Yesterday evening, in advance of the 48-hour deadline you requested, we explained why
Defendants did not violate Judge King’s order. We had hoped you would find our
explanation sufficient. However, your most recent email indicates that you intend to litigate
this issue. Accordingly, we provide our positions in response to your requests below.

Defendants oppose a contempt motion and intend to file an opposition because Defendants
have not violated Judge King’s order. We don’t believe shortened time is necessary because
the termination of this research grant does not cause the sort of imminent harm that
requires expedited relief. However, as a courtesy, we would agree to shortened time
provided Defendants can file their response brief by March 13. If you intend to file the
request for shortened time as joint, consent, or unopposed, we request to see a draft of the
request before it is finalized and filed. Finally, Defendants oppose any request for attorney’s
fees because, again, Defendants are not in violation of Judge King’s order.

Relatedly, if the court wishes to hold a hearing on the motion, we request that the hearing
be telephonic or by Zoom if possible, in light of counsel’s recent cross-country travel for the
two prior hearings in this case and Executive Order 14,222, entitled “Implementing the
President's ‘Department of Government Efficiency’ Cost Efficiency Initiative.”

Thank you,
Vinita


From: Melody, Colleen M (ATG) <colleen.melody@atg.wa.gov>
Sent: Wednesday, March 5, 2025 6:26 PM
To: Daniel, Christian S. (CIV) <Christian.S.Daniel@usdoj.gov>; Andrapalliyal, Vinita B. (CIV)
<Vinita.B.Andrapalliyal@usdoj.gov>
Cc: McGinty, William (ATG) <william.mcginty@atg.wa.gov>; Heintz, Tera M. (ATG)
<tera.heintz@atg.wa.gov>; Fraas, Lauryn (ATG) <Lauryn.Fraas@ATG.WA.GOV>; Sepe, Cristina (ATG)
<cristina.sepe@atg.wa.gov>; Hughes, Andrew (ATG) <andrew.hughes@atg.wa.gov>; Luna, Neal
(ATG) <neal.luna@atg.wa.gov>; Wolf, Lucy (ATG) <lucy.wolf@atg.wa.gov>;
Allie.M.Boyd@doj.oregon.gov; James.Canaday@ag.state.mn.us; shannon.stevenson@coag.gov
Subject: [EXTERNAL] RE: Violation of Court Orders re: Gender-Affirming Care Research

Christian:

Having not heard from Defendants regarding the termination letter, please provide by 9am
     Case 2:25-cv-00244-LK          Document 245-4         Filed 03/06/25      Page 3 of 5


PT tomorrow Defendants’ position on a motion for contempt, shortened time, and attorneys’
fees. On shortened time, we’re planning to file our motion tomorrow and request that
Defendants’ response be due March 11, Plaintiffs’ reply be due March 12, and that the
motion note March 13.

Sincerely,

Colleen

From: Melody, Colleen M (ATG)
Sent: Tuesday, March 4, 2025 11:48 AM
To: 'Daniel, Christian S. (CIV)' <Christian.S.Daniel@usdoj.gov>; Andrapalliyal, Vinita B. (CIV)
<Vinita.B.Andrapalliyal@usdoj.gov>
Cc: McGinty, William (ATG) <william.mcginty@atg.wa.gov>; Heintz, Tera M. (ATG)
<tera.heintz@atg.wa.gov>; Fraas, Lauryn (ATG) <Lauryn.Fraas@ATG.WA.GOV>; Sepe, Cristina (ATG)
<Cristina.Sepe@atg.wa.gov>; Hughes, Andrew (ATG) <andrew.hughes@atg.wa.gov>; Luna, Neal
(ATG) <neal.luna@atg.wa.gov>; Wolf, Lucy (ATG) <Lucy.Wolf@atg.wa.gov>;
Allie.M.Boyd@doj.oregon.gov; James.Canaday@ag.state.mn.us; shannon.stevenson@coag.gov
Subject: RE: Violation of Court Orders re: Gender-Affirming Care Research

Christian:

NIH’s cited basis for immediate termination of the grant is that “[r]esearch programs based
on gender identity are often unscientific” and “ignore, rather than seriously examine,
biological realities.” That is the same reasoning, steeped in stereotype, that underlies the
Gender-Ideology Order and Denial-of-Care Order. Restrictions on funding under Sections
3(e) and 3(g) of the Gender-Ideology Order and Section 4 of the Denial-of-Care Order are
enjoined. For avoidance of any doubt, the Maryland injunction includes a prohibition on
taking “any steps to implement, give effect to, or reinstate [the enjoined conduct] under a
different name.” Temporary Restraining Order at 2, PFLAG v. Trump, No. 8:25-cv-00337-
BAH (D. Md. Feb. 13, 2025), ECF 61. And in violation of yet a third injunction, the
termination letter contravenes an order of the Rhode Island District Court ordering HHS “not
to pause any funds based on pronouncements pausing funding incorporated into the OMB
Directive,” including the Gender-Ideology Order. New York v. Trump, No. 25-cv-39-JJM-
PAS (D.R.I. Feb. 10, 2025), ECF 96.

Based on all of this, when I sent my email yesterday, I expected Defendants to respond that
this was an inadvertent mistake that NIH would promptly correct. I hope that is what you
say next.

Sincerely,

Colleen


From: Daniel, Christian S. (CIV) <Christian.S.Daniel@usdoj.gov>
Sent: Tuesday, March 4, 2025 10:41 AM
To: Melody, Colleen M (ATG) <colleen.melody@atg.wa.gov>; Andrapalliyal, Vinita B. (CIV)
     Case 2:25-cv-00244-LK          Document 245-4         Filed 03/06/25      Page 4 of 5


<Vinita.B.Andrapalliyal@usdoj.gov>
Cc: McGinty, William (ATG) <william.mcginty@atg.wa.gov>; Heintz, Tera M. (ATG)
<tera.heintz@atg.wa.gov>; Fraas, Lauryn (ATG) <Lauryn.Fraas@ATG.WA.GOV>; Sepe, Cristina (ATG)
<cristina.sepe@atg.wa.gov>; Hughes, Andrew (ATG) <andrew.hughes@atg.wa.gov>; Luna, Neal
(ATG) <neal.luna@atg.wa.gov>; Wolf, Lucy (ATG) <lucy.wolf@atg.wa.gov>;
Allie.M.Boyd@doj.oregon.gov; James.Canaday@ag.state.mn.us; shannon.stevenson@coag.gov
Subject: RE: Violation of Court Orders re: Gender-Affirming Care Research

[EXTERNAL]


Hi Colleen,

We are looking into the letter. Can you please explain why you believe it violates any court
order?

Best,
Christian

--
Christian Daniel
Trial Attorney
U.S. Department of Justice, Civil Division
Federal Programs Branch
Office: (202) 514-5838
Cell: (202) 993-5173

From: Melody, Colleen M (ATG) <colleen.melody@atg.wa.gov>
Sent: Monday, March 3, 2025 7:23 PM
To: Andrapalliyal, Vinita B. (CIV) <Vinita.B.Andrapalliyal@usdoj.gov>; Daniel, Christian S. (CIV)
<Christian.S.Daniel@usdoj.gov>
Cc: McGinty, William (ATG) <william.mcginty@atg.wa.gov>; Heintz, Tera M. (ATG)
<tera.heintz@atg.wa.gov>; Fraas, Lauryn (ATG) <Lauryn.Fraas@ATG.WA.GOV>; Sepe, Cristina (ATG)
<cristina.sepe@atg.wa.gov>; Hughes, Andrew (ATG) <andrew.hughes@atg.wa.gov>; Luna, Neal
(ATG) <neal.luna@atg.wa.gov>; Wolf, Lucy (ATG) <lucy.wolf@atg.wa.gov>;
Allie.M.Boyd@doj.oregon.gov; James.Canaday@ag.state.mn.us; shannon.stevenson@coag.gov
Subject: [EXTERNAL] Violation of Court Orders re: Gender-Affirming Care Research

Vinita, Christian:

Today, Washington became aware of the attached letter that was sent to Seattle Children’s
Hospital on February 28 terminating research into healthcare for transgender and gender-
expansive youth. The grant description is available here and includes the development of a
“gender-affirming intervention.” This termination letter violated multiple injunctions at the
time it was issued, including the temporary restraining orders in Washinton v. Trump, No.
2:25-cv-00244-LK (W.D. Wash. Feb. 14, 2025), and PLAG v. Trump, No. BAH-25-337 (D.
Md. Feb. 13, 2025). Following the issuance of the preliminary injunction in Washington v.
Trump on February 28, the letter is additionally in violation of that order.
     Case 2:25-cv-00244-LK        Document 245-4        Filed 03/06/25     Page 5 of 5


Please confirm in writing within 48 hours that this termination letter has been withdrawn.
Failure to confirm the same will result in emergency motions practice before Judge King.

Thank you,

Colleen

Colleen Melody
Wing Luke Civil Rights Division Chief
Washington State Attorney General’s Office
800 Fifth Avenue, Suite 2000
Seattle, WA 98104
(206) 464-5342
She/her
